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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT
for the

Eastern District of New York

JENNIFER GUILMETTE, on behalf of herself and all
others similar situated,

Plaintiff(s)
V.

BLISS RESTAURANT BAR & CATERING INC., and
RONALD HOFFMAN, an individual,

Civil Action No. 25-cv-02395-SIL

ON SS“ “Sa”

Defendant(s)
SUMMONS IN A CIVIL ACTION

TO: (Defendant’s name and address) Bliss Restaurant Bar & Catering Inc.
766 Rt. 25A, East Setauket, New York 11733

Ronald Hoffman
766 Rt. 25A, East Setauket, New York 11733

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Garrett Kaske

Kessler Matura P.C.

534 Broadhollow Road, Ste. 275
Melville, NY 11747
631-499-9100

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

Date 4/30/2025

Signature of Clerk or Deputy Clerk

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Civil Action No. 25 Civ. 2395

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (i)

This summons for (name of individual and title, if any)

was received by me on (date)

© I personally served the summons on the individual at (place)

On (date) ; Or

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

On (date) , and mailed a copy to the individual’s last known address; or

C1 Iserved the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

O01 (date) > OF
OC Ireturned the summons unexecuted because : Or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:

a ccc

